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                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



UNITED STATES OF AMERICA

              v.

PIROUZ SEDAGHATV,                                EXHIBIT A TO DECLARATION OF
                                                 CHRISTOPHER L. CARDANI
                      Defendant.

In re AL RAJHI BANK SUBPOENA

AL RAJHI BANKING &
INVESTMENT CORP,
Real party in interest

                      Respondent.
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                        Office o~ the Attorney General
                                      Washington, n.c.




                                   ORDER NO. 2860-2007

                       . DELEGATION OF AUTHORITY TO ISSUE
                               AS~ONSORSUBPOENA
                     TO ANY FOREIGN BANK mAT MAINTAINS
               'A CORRESPONDENT ACCOUNT IN THE UNITED STATES


      By virtue of the authority vested in me as Attorney General, including 28 U.S.C. §§ 509
                                                                   as
and 510,5 U.S.C. § 301, and 31 U.S.C. § 53 I8(k)(3), I herebY'order follows:

      .1.     For matters within the scope of authority of the Assistant Attorney General,
              Criminal Division (AAG/C~, I hereby delegate to the AAO/CRM and to the
              United States Attorneys, subject to the approval ofthe Cr.iminal Division pursuant
            . to § 9-13.525 ofthe United States Attorneys' Manual, the authority, pursuant to
              31 U.s.C. § 5318(k)(3), to issue a sununons or subpoena to any foreign'bank that
              ~ntains a correspondent account in the United $tates.         .

       2.     For matters within the scope of authority of the Assistant Attorney General fOT
              National Security (AAG/NSD), I hereby delegate to the AAG/NSD and to the
              United States Attorneys, subject to the approval of the Criminal Division pursuant
              to § 9-13.525 ofthe United States Attorneys' Manupl, the authority, pursuant to
              31 U.S.C. § 5318(k)(3), to issue a summons or subpoena to any foreign bank that
              maintains a correspondent accoUnt in the United States.

       3.    .This Qrder supersedes Attorney General. Order No. 2615-2002 (S~pt. 23, 2002).




 January 18. 2007
Date                                                   i~
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                                                   A orney General
